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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF COLORADO


 UNITED FOOD AND COMMERCIAL                       Case No. ___________
 WORKERS INTERNATIONAL UNION
 LOCAL 464A, THE TRUSTEES OF
 WELFARE AND PENSION FUNDS OF
 LOCAL 464A – PENSION FUND, THE
 TRUSTEES OF RETIREMENT PLAN FOR                  JURY TRIAL DEMANDED
 OFFICERS, BUSINESS
 REPRESENTATIVES AND OFFICE
 EMPLOYEES OF LOCAL 464A, THE
 TRUSTEES OF LOCAL 464A FINAST
 FULL TIME EMPLOYEES PENSION
 PLAN, THE TRUSTEES OF LOCAL 464A
 WELFARE AND PENSION BUILDING
 INC., and THE TRUSTEES OF NEW
 YORK-NEW JERSEY AMALGAMATED
 PENSION PLAN FOR ACME
 EMPLOYEES, Individually and on Behalf of
 All Others Similarly Situated,

                         Plaintiffs,

        v.

 PILGRIM’S PRIDE CORPORATION,
 JAYSON J. PENN, WILLIAM W.
 LOVETTE, and FABIO SANDRI,

                         Defendants.



                              CLASS ACTION COMPLAINT

       Plaintiffs United Food and Commercial Workers International Union Local 464A, the

Trustees of Welfare and Pension Funds of Local 464A – Pension Fund, the Trustees of Retirement

Plan for Officers, Business Representatives and Office Employees of Local 464A, the Trustees of

Local 464A Finast Full Time Employees Pension Plan, the Trustees of Local 464A Welfare and


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Pension Building Inc., and the Trustees of New York-New Jersey Amalgamated Pension Plan for

ACME Employees (“Local464A” or “Plaintiffs”) allege the following based upon personal

knowledge as to themselves and their own acts, and upon information and belief as to all other

matters, including the investigation of Plaintiffs’ counsel, which included, among other things, a

review of Defendants’ (defined below) United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by Pilgrim’s Pride Corporation (“Pilgrim’s

Pride” or the “Company”), analyst reports and advisories about the Company, media reports

concerning the Company, judicial filings and opinions, and other publicly available information,

including the public record in United States v. Penn, No. 20-cr-00152-PAB (D. Colo.). Plaintiffs

believe that substantial additional evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

I.      NATURE OF THE ACTION AND OVERVIEW

        1.     This is a federal class action on behalf of a class of all persons and entities who

purchased or otherwise acquired Pilgrim’s Pride common stock between February 9, 2017, and

June 3, 2020, inclusive (the “Class Period”), seeking to pursue remedies under the Securities

Exchange Act of 1934 (the “Exchange Act”).

        2.     Pilgrim’s Pride, a Delaware corporation headquartered in Greeley, Colorado, is one

of the largest chicken producers in the United States. Pilgrim’s Pride’s common stock trades on

the NASDAQ under the ticker symbol “PPC.”

        3.     Throughout the Class Period, in annual reports and earnings calls, Defendants

touted the Company’s competitive strengths, advantages, and market positioning, which




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Defendants claimed had been achieved through legitimate business strategies such as a broad

product portfolio and disciplined capital allocation.

       4.      On June 3, 2020, however, investors learned the truth about the source of the

Company’s competitive advantages when the United States Department of Justice (the “DOJ”)

announced criminal charges (the “Indictment”) against two Pilgrim’s Pride high level executives

(including its current Chief Executive Officer) and two other executives in the chicken industry,

alleging that they and other unnamed co-conspirators had participated in an illegal antitrust

conspiracy to fix prices and rig bids from at least as early as 2012 and continuing through at least

early 2017.

       5.      On this news, the price of Pilgrim’s Pride common stock declined $2.58 per share,

or approximately 12.4%, from a close of $20.87 per share on June 2, 2020, to close at $18.29 per

share on June 3, 2020.

       6.      This Complaint alleges that, throughout the Class Period, Defendants made

materially false and/or misleading statements, as well as failed to disclose material adverse facts,

about the Company’s business and operations. Specifically, Defendants misrepresented and/or

failed to disclose that: (1) the Company and its executives had participated in an illegal antitrust

conspiracy to fix prices and rig bids from at least as early as 2012 and continuing through at least

early 2017; (2) the Company received competitive advantages, which persisted during the Class

Period, from its anticompetitive conduct; and (3) as a result, Defendants’ statements about the

Company’s business, operations, and prospects lacked a reasonable basis.




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         7.    As a result of Defendants’ wrongful acts and omissions, and the significant decline

in the market value of the Company’s common stock, Plaintiffs and other members of the Class

have suffered significant damages.

II.      JURISDICTION AND VENUE

         8.    Plaintiffs’ claims arise under Sections 10(b) and 20(a) of the Exchange Act, 15

U.S.C. §§ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder, including SEC

Rule 10b-5, 17 C.F.R. § 240.10b-5.

         9.    This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1331 and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         10.   Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, and 28 U.S.C. § 1391(b), because Pilgrim’s Pride is headquartered in this District,

Defendants conduct business in this District, and many of the acts and conduct that constitute the

violations of law complained of herein, including the preparation and dissemination to the public

of materially false and misleading information, occurred in this District. In addition, the DOJ’s

criminal case against certain of the Defendants is pending in this District. See United States v.

Penn, No. 20-cr-00152-PAB (D. Colo.).

         11.   In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including the United States mails, interstate telephone communications, and the facilities of the

national securities markets.




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III.   PARTIES

       12.     Plaintiffs, as set forth in the accompanying certification, incorporated by reference

herein, purchased Pilgrim’s Pride common stock at artificially inflated prices during the Class

Period and have been damaged thereby.

       13.     Defendant Pilgrim’s Pride is a Delaware corporation with its principal executive

offices located at 1770 Promontory Circle, Greeley, Colorado 80634.

       14.     Defendant Jayson J. Penn (“Penn”) has been the Company’s President and Chief

Executive Officer since March 2019. Penn was also President of Pilgrim’s USA from October

2017 to March 2019, and an Executive Vice President at Pilgrim’s Pride from January 2012 to

October 2017. As of June 14, 2020, Penn is on a paid leave of absence from the Company.

       15.     Defendant William W. Lovette (“Lovette”) was, from January 2011 to March 2019,

the Company’s President and Chief Executive Officer. Lovette was also a Company director from

February 2011 to March 2019.

       16.     Defendant Fabio Sandri (“Sandri”) has been the Company’s Chief Financial Officer

since June 2011. Additionally, as of June 14, 2020, Sandri is the Company’s interim President

and Chief Executive Officer.

       17.     Defendants Penn, Lovette, and Sandri are collectively referred to herein as the

“Individual Defendants.”

       18.     The Individual Defendants, because of their positions with the Company, possessed

the power and authority to control the contents of Pilgrim’s Pride reports to the SEC, press releases,

and presentations to securities analysts, money and portfolio managers, and institutional investors,

i.e., the market. Each Individual Defendant was provided with copies of the Company’s reports



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alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and

opportunity to prevent their issuance or cause them to be corrected. Because of their positions and

access to material non-public information available to them, each of the Individual Defendants

knew that the adverse facts specified herein had not been disclosed to, and/or were being concealed

from, the public, and that the positive representations that were being made were then materially

false and/or misleading.

       19.      Pilgrim’s Pride and the Individual Defendants are collectively referred to herein as

“Defendants.”

IV.    SUBSTANTIVE ALLEGATIONS

       20.      Pilgrim’s Pride is a large, vertically integrated producer of meat products. The

majority of Pilgrim’s Pride’s annual sales arise from chicken products, which the Company

primarily sells to grocers and chain restaurants.

       A.       Defendants’ False and Misleading Statements

       21.      The Class Period begins on February 9, 2017, to coincide with the filing of

Pilgrim’s Pride’s annual report for the year ended December 31, 2016, with the SEC on Form 10-

K (the “2016 Annual Report”). In the 2016 Annual Report, which was signed by, inter alia,

Defendants Lovette and Sandri, Defendants touted the Company’s “competitive strengths” and

represented, in relevant part:

       Leading market position in the growing chicken industry. We are one of the
       largest chicken producers globally and a leading chicken producer in the U.S. with
       an approximate 16.6% market share, based on ready-to-cook production in 2016,
       according to WATTPoultryUSA magazine. We believe we can maintain this
       prominent market position as we are one of the few producers in the chicken
       industry that can fully satisfy the requirements of large retailers and foodservice
       companies due to our broad product range, national distribution, vertically
       integrated operations and technical capabilities. Further, our scale of operations,



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       balanced product portfolio and a wide range of production capabilities enable us to
       meet both the capacity and quality requirements of our customer base. Finally, we
       believe we are well positioned with our global footprint to benefit from the growth
       in the U.S. chicken export market.

       22.        The 2016 Annual Report also listed a “broad product portfolio,” a “blue chip and

diverse customer base across all industry segments,” a “lean and focused enterprise,” “robust cash

flow generation with disciplined capital allocation,” an “experienced management team and

results-oriented corporate culture,” and a “relationship with JBS [S.A.]”—the Company’s majority

shareholder—as “competitive strengths” that would “enable [the Company] to maintain and grow

[its] position as a leading chicken company and to capitalize on future favorable growth

opportunities.”

       23.        The 2016 Annual Report further represented that Pilgrim’s Pride’s “full-line

product capabilities, high-volume production capacities, research and development expertise and

extensive distribution and marketing experience are competitive strengths compared to smaller

and non-vertically integrated producers.”

       24.        As required by the Sarbanes-Oxley Act of 2002, Defendants Lovette and Sandri

certified that they had reviewed the 2016 Annual Report and that it “does not contain any untrue

statement of a material fact or omit to state a material fact necessary to make the statements made,

in light of the circumstances under which such statements were made, not misleading with respect

to the period covered by this report.”

       25.        Similarly, during a May 4, 2017 earnings call, Defendant Lovette represented to

investors that “[w]e price our retail products and our food service products based on the value that

we deliver to our key customers and we have various mechanisms for doing that” and “[t]hat’s

part of the diversity of our portfolio, which we think is a competitive advantage.”


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       26.        In another earnings call on February 15, 2018, Defendant Lovette stated that the

Company “believe[s] industry growth over the next few years will continue to be well supportive

of a balanced supply and demand environment, and we’re confident that our business will have

the ability to outperform given our broad portfolio and presence in all bird categories as well as

strong relationships with our key customers.”         Defendant Lovette further claimed that the

Company’s “key customer approach is strategic, and it creates an opportunity to further accelerate

growth in important categories by providing a more differentiated product portfolio and giving us

a competitive advantage.”

       27.        On February 16, 2018, Pilgrim’s Pride filed its annual report for the year ended

December 31, 2017, with the SEC on Form 10-K (the “2017 Annual Report”). In the 2017 Annual

Report, which was signed by, inter alia, Defendants Lovette and Sandri, Defendants again touted

the Company’s “competitive strengths”—including a “broad product portfolio,” a “blue chip and

diverse customer base across all industry segments,” a “lean and focused enterprise,” an

“experienced management team and results-oriented corporate culture,” and a “relationship with

JBS [S.A.]”—which, Defendants claimed, would “enable [the Company] to maintain and grow

[its] position as a leading chicken company and to capitalize on future favorable growth

opportunities.”

       28.        Like the 2016 Annual Report, the 2017 Annual Report also stated that Pilgrim’s

Pride’s “full-line product capabilities, high-volume production capacities, research and

development expertise and extensive distribution and marketing experience are competitive

strengths compared to smaller and non-vertically integrated producers.”




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       29.     As required by the Sarbanes-Oxley Act of 2002, Defendants Lovette and Sandri

certified that they had reviewed the 2017 Annual Report and that it “does not contain any untrue

statement of a material fact or omit to state a material fact necessary to make the statements made,

in light of the circumstances under which such statements were made, not misleading with respect

to the period covered by this report.”

       30.     Defendants continued to represent to investors that the Company’s competitive

advantages resulted from legitimate business strategies. For example, during an earnings call on

August 2, 2018, Defendant Lovette stated:

       While we’re already well-balanced in terms of our bird-size exposure, we will
       continue to look for opportunities to shift our product mix and reduce the
       commodity portion of our portfolio by offering a more differentiated product to key
       customers while also optimizing our existing operations to pursuing our operational
       improvement targets. We believe our key customer approach is strategic and creates
       a basis to further accelerate growth in important categories by providing a more
       customized and innovative products [sic] to give us a clear competitive advantage.

       31.     On February 14, 2019, Pilgrim’s Pride filed its annual report for the year ended

December 31, 2018, with the SEC on Form 10-K (the “2018 Annual Report”). In the 2018 Annual

Report, Defendants again touted the Company’s “competitive strengths”—including a “broad

product portfolio,” a “blue chip and diverse customer base across all industry segments,” a “lean

and focused enterprise,” an “experienced management team and results-oriented corporate

culture,” and a “relationship with JBS [S.A.]”—which, Defendants claimed, would “enable [the

Company] to maintain and grow [its] position as a leading chicken company and to capitalize on

future favorable growth opportunities.”

       32.     Like the 2016 and 2017 Annual Reports, the 2018 Annual Report also stated that

Pilgrim’s Pride’s “full-line product capabilities, high-volume production capacities, research and



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development expertise and extensive distribution and marketing experience are competitive

strengths compared to smaller and non-vertically integrated producers.”

       33.     As required by the Sarbanes-Oxley Act of 2002, Defendants Lovette and Sandri

certified that they had reviewed the 2018 Annual Report and that it “does not contain any untrue

statement of a material fact or omit to state a material fact necessary to make the statements made,

in light of the circumstances under which such statements were made, not misleading with respect

to the period covered by this report.”

       34.     Again, Defendants continued to tout the Company’s “competitive advantages,”

which were purportedly obtained through legitimate means. On a February 14, 2019 earnings call,

for example, Defendant Lovette repeated his previous representations that the Company’s “key

customer approach is strategic and creates the basis to further accelerate growth in important

categories by providing them more customized and innovative products to give us a clear

competitive advantage.”

       35.     Similarly, during an earnings call on May 2, 2019, Defendant Penn represented to

investors that the Company’s “leading positions in these markets and differentiated product

offerings have continued to give us competitive advantage relative to our peers with a more narrow

market approach.” Penn substantially repeated this statement during earnings calls on August 1,

2019, and October 31, 2019.

       36.     On February 21, 2020, Pilgrim’s Pride filed its annual report for the year ended

December 31, 2019, with the SEC on Form 10-K (the “2019 Annual Report”). In the 2019 Annual

Report, which was signed by, inter alia, Defendants Penn and Sandri, Defendants stated that the

Company “utilize[s] numerous advertising and marketing techniques to develop and strengthen



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trade and consumer awareness and increase brand loyalty for consumer products,” and “believe[s]

[the Company’s] efforts to achieve and maintain brand awareness and loyalty help to achieve

greater price premiums than would otherwise be the case in certain markets and support and

expand [the Company’s] product distribution.”

       37.     As required by the Sarbanes-Oxley Act of 2002, Defendants Penn and Sandri

certified that they had reviewed the 2019 Annual Report and that it “does not contain any untrue

statement of a material fact or omit to state a material fact necessary to make the statements made,

in light of the circumstances under which such statements were made, not misleading with respect

to the period covered by this report.”

       38.     During an earnings call that same day, Defendant Penn again stated that “[o]ur

market leadership in these categories and more differentiated product portfolio have continued to

support the growth of our competitive advantage versus the industry.”

       39.     Defendant Penn repeated this statement on April 30, 2020, representing that “[o]ur

market leadership in these categories and more differentiated product portfolios have continued to

strengthen the growth of our competitive advantage versus the industry.”

       40.     Defendants’ statements about the Company’s competitive advantage, strengths, and

market positioning in the chicken industry were materially false and/or misleading when made

because Defendants misrepresented and/or failed to disclose that: (1) the Company and its

executives had participated in an illegal antitrust conspiracy to fix prices and rig bids from at least

as early as 2012 and continuing through at least early 2017; (2) the Company received competitive

advantages, which persisted during the Class Period, from its anticompetitive conduct; and (3) as




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a result, Defendants’ statements about the Company’s business, operations, and prospects lacked

a reasonable basis.

       B.      The Truth Emerges

       41.     Plaintiffs and other investors began to learn the truth about the source of the

Company’s purported competitive strengths and advantages on June 3, 2020, when the DOJ

announced that a federal grand jury in the District of Colorado had returned the Indictment

charging four executives in the chicken industry with criminal antitrust violations: Defendant

Penn; Roger Austin, a former Pilgrim’s Pride Vice President; Mikell Fries, President of Claxton

Poultry Farms (“Claxton”); and Scott Brady, a former Pilgrim’s Pride Vice President, who became

a Vice President at Claxton in 2012 (collectively, the “DOJ Defendants”).

       42.     The Indictment alleges that the DOJ Defendants, as well as other co-conspirators—

including Defendant Lovette, who is not specifically named in the Indictment but is identifiable

by title—violated the Sherman Act by “participating in a continuing network of Suppliers and co-

conspirators, an understood purpose of which was to suppress and eliminate competition through

rigging bids and fixing prices and price-related terms for broiler chicken products sold in the

United States.”

       43.     The Indictment additionally alleges that in order to further the conspiracy, the DOJ

Defendants utilized their network of suppliers and co-conspirators from at least as early as 2012

and continuing through at least early 2017 to: “reach agreements and understandings to submit

aligned, though not necessarily identical, bids and to offer aligned, though not necessarily

identical, prices, and price-related terms, including discount levels”; “participate in conversations

and communications relating to non-public information such as bids, prices, and price-related



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terms, including discount levels, . . . with the shared understanding that the purpose of the

conversations and communications was to rig bids, and to fix, maintain, stabilize, and raise prices

and other price-related terms, including discount levels”; and “monitor bids submitted by, and

prices and price-related terms, including discount levels, offered by, Suppliers and co-

conspirators.”

       44.       Using detailed information regarding phone calls, text messages, and relevant

documents, the Indictment sets forth seven specific instances in which the DOJ Defendants and

other co-conspirators, including Defendant Lovette, illegally and improperly coordinated on the

prices, including discounts, and bids that supplier companies, including Pilgrim’s Pride and

Claxton, offered to chicken purchasers.

       45.       For example, as detailed in the Indictment, in 2014, suppliers were negotiating with

a purchasing cooperative over prices that would take effect in 2015. According to the Indictment,

Pilgrim’s Pride employees, including DOJ Defendant Austin, communicated with other suppliers

regarding the range of margin increases the suppliers would be proposing to the purchasing

cooperative, and an unnamed Pilgrim’s Pride employee compiled a price proposal for Defendant

Penn that included the contemplated 2015 margins for at least four competitor suppliers. DOJ

Defendants Penn, Austin, Brady, and Fries then engaged in a number of communications, via

phone and text message—including between Austin, at Pilgrim’s Pride, and Brady, at Claxton—

regarding whether Pilgrim’s Pride, Claxton, or other suppliers would lower their prices.

Specifically, Brady instructed Austin “not to come down on price.”

       46.       According to the Indictment, during another 2014 instance of improper price

coordination, Defendant Penn exchanged text messages with an unnamed Pilgrim’s Pride



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employee, who stated that “[t]hey are listening to my direction” regarding a negotiation with a

national restaurant chain. Defendant Penn said, “Who is they?” and then, “If they is illegal don’t

tell me,” further demonstrating that Penn was aware the Company was participating in illegal,

anticompetitive conduct.

       47.     The Indictment also sets forth a separate instance of “protecting the purpose and

effectiveness of the conspiracy.” In November 2014, a different, unnamed supplier (“Supplier-3”)

asked to purchase broiler chicken products from Pilgrim’s Pride to cover a shortfall to an unnamed

grocer for approximately $0.05/lb. more than the price Pilgrim’s Pride had negotiated with the

grocer. Defendant Penn sent a series of emails to other Pilgrim’s Pride employees, discussing how

to make the supplier “pay for poor decision making” so “they start acting appropriately.” Penn

then asked for Defendant Lovette’s thoughts on whether to make the supplier “feel the pain across

their system so they can start making decisions commensurate with a profitable venture and not a

philanthropic organization.” In response, Lovette said: “No question in my mind. [Supplier-3]

should have to live with the decision they made. We made ours and are dealing with it. Why

should it be any different for them? We SHOULD NOT HELP THEM ONE MICRON.” The

following month, Penn also said to Lovette: “[Supplier-3] took this strategy of not worrying about

what the competition is doing and it led to the unraveling on [sic] a competitive advantage. Have

to keep our enemies close and ensure that we are not zigging when the competition is successfully

zagging.”

       48.     In response to the announcement of the Indictment, the price of Pilgrim’s Pride

common stock declined $2.58 per share, or 12.4%, from a close of $20.87 per share on June 2,

2020, to close at $18.29 per share on June 3, 2020.



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V.     PLAINTIFFS’ CLASS ACTION ALLEGATIONS

       49.     Plaintiffs bring this class action under Rule 23 of the Federal Rules of Civil

Procedure on behalf of all persons who purchased Pilgrim’s Pride common stock during the Class

Period (the “Class”). Excluded from the Class are Defendants, their agents, directors and officers

of Pilgrim’s Pride, and their families and affiliates.

       50.     The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court.

       51.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

               a.      Whether Defendants violated the Exchange Act;

               b.      Whether Defendants omitted and/or misrepresented material facts;

               c.      Whether Defendants’ statements omitted material facts necessary in

                       order to make the statements made, in light of the circumstances

                       under which they were made, not misleading;

               d.      Whether Defendants knew or recklessly disregarded that their

                       statements were false and misleading;

               e.      Whether the price of Pilgrim’s Pride common stock was artificially

                       inflated; and

               f.      The extent of damage sustained by members of the Class and the

                       appropriate measure of damages.



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       52.      Plaintiffs’ claims are typical of those of the Class because Plaintiffs and the Class

sustained damages from Defendants’ wrongful conduct.

       53.      Plaintiffs will adequately protect the interests of the Class and has retained counsel

who are experienced in securities class actions. Plaintiffs have no interests that conflict with those

of the Class.

       54.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

VI.    APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-THE-
       MARKET DOCTRINE

       55.      Plaintiffs will rely upon the presumption of reliance established by the fraud-on-

the-market doctrine in that, among other things:

                a.     Defendants made public misrepresentations or failed to disclose

                       material facts during the Class Period;

                b.     The omissions and misrepresentations were material;

                c.     The Company’s common stock traded in an efficient market;

                d.     The misrepresentations alleged would tend to induce a reasonable

                       investor to misjudge the value of the Company’s common stock; and

                e.     Plaintiffs and the Class purchased Pilgrim’s Pride common stock

                       between the time Pilgrim’s Pride and the Individual Defendants

                       misrepresented or failed to disclose material facts and the time the

                       true facts were disclosed, without knowledge of the misrepresented

                       or omitted facts.




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       56.     At all relevant times, the market for Pilgrim’s Pride common stock was efficient

because: (1) as a regulated issuer, Pilgrim’s Pride filed periodic public reports with the SEC; and

(2) Pilgrim’s Pride regularly communicated with public investors using established market

communication mechanisms, including through regular disseminations of press releases on the

major news wire services and through other wide-ranging public disclosures, such as

communications with the financial press, securities analysts, and other similar reporting services.

VII.   NO SAFE HARBOR

       57.     Defendants’ “Safe Harbor” warnings accompanying any forward-looking

statements issued during the Class Period were ineffective to shield those statements from liability.

Defendants are liable for any false and/or misleading forward-looking statements pleaded because,

at the time each forward-looking statement was made, the speaker knew the forward-looking

statement was false or misleading and the forward-looking statement was authorized and/or

approved by an executive officer of Pilgrim’s Pride who knew that the forward-looking statement

was false. None of the historic or present-tense statements made by Defendants were assumptions

underlying or relating to any plan, projection, or statement of future economic performance, as

they were not stated to be such assumptions underlying or relating to any projection or statement

of future economic performance when made, nor were any of the projections or forecasts made by

Defendants expressly related to or stated to be dependent on those historic or present-tense

statements when made.

VIII. LOSS CAUSATION/ECONOMIC LOSS

       58.     Defendants’ wrongful conduct directly and proximately caused the economic loss

suffered by Plaintiffs and the Class. The price of Pilgrim’s Pride common stock significantly




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declined when the misrepresentations made to the market, and/or the information alleged herein

to have been concealed from the market, and/or the effects thereof, were revealed, causing

investors’ losses. As a result of their purchases of Pilgrim’s Pride common stock during the Class

Period, Plaintiffs and the Class suffered economic loss, i.e., damages, under the federal securities

laws.

IX.     SCIENTER ALLEGATIONS

        59.    During the Class Period, Defendants had both the motive and opportunity to

commit fraud. They also had actual knowledge of the misleading nature of the statements they

made, or acted in reckless disregard of the true information known to them at the time. In so doing,

Defendants participated in a scheme to defraud and committed acts, practices, and participated in

a course of business that operated as a fraud or deceit on purchasers of Pilgrim’s Pride common

stock during the Class Period.

X.      CLAIMS AGAINST DEFENDANTS

                                             COUNT I

                      Violation of Section 10(b) of the Exchange Act and
                          SEC Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        60.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

        61.    During the Class Period, Defendants carried out a plan, scheme, and course of

conduct that was intended to and, throughout the Class Period, did: (1) deceive the investing public,

including Plaintiffs and the Class; and (2) cause Plaintiffs and the Class to purchase Pilgrim’s Pride

common stock at artificially inflated prices. In furtherance of this unlawful scheme, plan, and

course of conduct, the Defendants, and each of them, took the actions set forth herein.




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       62.    Defendants: (1) employed devices, schemes, and artifices to defraud; (2) made

untrue statements of material fact and/or omitted material facts necessary to make the statements

not misleading; and (3) engaged in acts, practices, and a course of business which operated as a

fraud and deceit upon the purchasers of the Company’s common stock in an effort to maintain

artificially high market prices thereof in violation of Section 10(b) of the Exchange Act and SEC

Rule 10b-5.

       63.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

the Class suffered damages in connection with their respective purchases of the Company’s

common stock during the Class Period.

                                          COUNT II

                        Violation of Section 20(a) of the Exchange Act
                              Against the Individual Defendants

       64.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       65.    The Individual Defendants acted as controlling persons of Pilgrim’s Pride within

the meaning of Section 20(a) of the Exchange Act. By virtue of their high-level positions, and

their ownership and contractual rights, participation in and/or awareness of the Company’s

operations, and/or intimate knowledge of the false financial statements filed by the Company with

the SEC and disseminated to the investing public, the Individual Defendants had the power to

influence and control—and did influence and control, directly or indirectly—the decision-making

of the Company, including the content and dissemination of the various false and/or misleading

statements. The Individual Defendants were provided with or had unlimited access to copies of

the Company’s reports and other statements alleged by Plaintiffs to be misleading prior to and/or




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shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       66.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and, therefore, are presumed to have

had the power to control or influence the particular accounting practices giving rise to the securities

violations as alleged herein, and exercised the same.

       67.     As described above, Pilgrim’s Pride and the Individual Defendants each violated

Section 10(b) of the Exchange Act and SEC Rule 10b-5 by their acts and omissions as alleged in

this Complaint. By virtue of their positions as controlling persons, the Individual Defendants are

liable under Section 20(a) of the Exchange Act. As a direct and proximate result of this wrongful

conduct, Plaintiffs and other members of the Class suffered damages in connection with their

purchases of Pilgrim’s Pride common stock during the Class Period.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

               a.      Determining that this action is a proper class action under Rule 23 of the

                       Federal Rules of Civil Procedure;

               b.      Awarding compensatory damages and equitable relief in favor of Plaintiffs

                       and other members of the Class against all Defendants, jointly and severally,

                       for all damages sustained as a result of Defendants’ wrongdoing, in an

                       amount to be proven at trial, including interest thereon;

               c.      Awarding Plaintiffs and the Class their reasonable costs and expenses

                       incurred in this action, including counsel fees and expert fees; and

               d.      Such other and further relief as the Court may deem just and proper.



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XI.    JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury.

Dated: July 6, 2020                                 Respectfully submitted,

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                                                    Pension Funds of Local 464A – Pension Fund,
                                                    the Trustees of Retirement Plan for Officers,
                                                    Business Representatives and Office
                                                    Employees of Local 464A, the Trustees of
                                                    Local 464A Finast Full Time Employees
                                                    Pension Plan, the Trustees of Local 464A
                                                    Welfare and Pension Building Inc., and the


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                                               Trustees of New York-New Jersey
                                               Amalgamated Pension Plan for ACME
                                               Employees




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